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                     IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MARYLAND


JOHNNIE JAMES                                *
STEVEN BROWN
ROBERT WILSON                                *
MAYNARD SNEED
RUSSELL HOPKINS                              *
TYRELL POLLEY
GREGORY HAMMOND                              *
SEDRIC HOLLEY
WILBERT DELANO                               *
                                                    CIVIL ACTION NO. RDB-16-945
       Plaintiffs,                           *

                      v.                     *

DEPARTMENT OF PUBLIC SAFETY                  *
AND CORRECTIONAL SERVICES
STEPHEN MOYER                                *
DAYENA M. CORCORAN
WARDEN RICHARD MILLER                        *

       Defendants.                           *

                                             *
       *       *      *       *       *      *       *      *       *       *      *


                     MOTION TO PROCEED IN FORMA PAUPERIS

       Now come the Plaintiffs, Johnnie James, #339779, Steven Brown, #299894,

Robert Wilson, #416017, Maynard Sneed, #293657, Russell Hopkins, #438457, Tyrell

Polley, #443422, Gregory Hammond, #407534, Sedric Holley, #358967, and Wilbert

Delano, #346138, by and through their attorneys, Stephen Z. Meehan, Damien D.

Dorsey, and the Prisoner Rights Information System of Maryland, Inc., move to proceed

in forma pauperis pursuant to 28 U.S.C. § 1915 in the above captioned action and say:
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       1.      Plaintiff Johnnie James, #339779, at all times relevant to this action, was

and is an inmate in the Maryland Division of Correction and assigned to the Roxbury

Correctional Institution (“RCI”) located at 18701 Roxbury Rd., Hagerstown, MD 21746.

Plaintiff has insufficient funds to pay the filing fee and other costs normally required to be

prepaid, and insufficient assets to give security therefore as he owns no real or personal

assets, including securities, bank accounts, or property. Furthermore, the Plaintiff is not

employed outside the Division of Correction. A copy of the Petitioner’s Affidavit to

Proceed In Forma Pauperis is attached. See Exhibit 1.

       2.      Plaintiff Steven Brown, #299894, at all times relevant to this action, was

and is an inmate committed to the custody of the Commissioner of Correction and

assigned to RCI. Plaintiff has insufficient funds to pay the filing fee and other costs

normally required to be prepaid, and insufficient assets to give security therefore as he owns

no real or personal assets, including securities, bank accounts, or property. Furthermore, the

Plaintiff is not employed outside the Division of Correction. A copy of the Petitioner’s

Affidavit to Proceed In Forma Pauperis is attached. See Exhibit 2.

       3.      Plaintiff Robert Wilson, #416017, at all times relevant to this action, was

and is an inmate committed to the custody of the Commissioner of Correction and

assigned to RCI. Plaintiff has insufficient funds to pay the filing fee and other costs

normally required to be prepaid, and insufficient assets to give security therefore as he owns

no real or personal assets, including securities, bank accounts, or property. Furthermore, the

Plaintiff is not employed outside the Division of Correction. A copy of the Petitioner’s

Affidavit to Proceed In Forma Pauperis is attached. See Exhibit 3.

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       4.      Plaintiff Maynard Sneed, #293657, at all times relevant to this action, was

and is an inmate committed to the custody of the Commissioner of Correction and

assigned to RCI. Plaintiff has insufficient funds to pay the filing fee and other costs

normally required to be prepaid, and insufficient assets to give security therefore as he owns

no real or personal assets, including securities, bank accounts, or property. Furthermore, the

Plaintiff is not employed outside the Division of Correction. A copy of the Petitioner’s

Affidavit to Proceed In Forma Pauperis is attached. See Exhibit 4.

       5.      Plaintiff Russell Hopkins, #438457, at all times relevant to this action, was

and is an inmate committed to the custody of the Commissioner of Correction and

assigned to RCI. Plaintiff has insufficient funds to pay the filing fee and other costs

normally required to be prepaid, and insufficient assets to give security therefore as he owns

no real or personal assets, including securities, bank accounts, or property. Furthermore, the

Plaintiff is not employed outside the Division of Correction. A copy of the Petitioner’s

Affidavit to Proceed In Forma Pauperis is attached. See Exhibit 5.

       6.      Plaintiff Tyrell Polley, #443422, at all times relevant to this action, was

and is an inmate committed to the custody of the Commissioner of Correction and

assigned to RCI. Plaintiff has insufficient funds to pay the filing fee and other costs

normally required to be prepaid, and insufficient assets to give security therefore as he owns

no real or personal assets, including securities, bank accounts, or property. Furthermore, the

Plaintiff is not employed outside the Division of Correction. A copy of the Petitioner’s

Affidavit to Proceed In Forma Pauperis is attached. See Exhibit 6.




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       7.      Plaintiff Gregory Hammond, #407534, was an inmate committed to the

custody of the Commissioner of Correction and assigned to RCI from September 24,

2015, to August 8, 2016. On August 8, 2016, Mr. Hammond was released by court order

to the Dorchester County Detention Center, 829 Fieldcrest Road, Cambridge, MD 21613.

Plaintiff has insufficient funds to pay the filing fee and other costs normally required to be

prepaid, and insufficient assets to give security therefore as he owns no real or personal

assets, including securities, bank accounts, or property. Furthermore, the Plaintiff is not

employed outside the Division of Correction. A copy of the Petitioner’s Affidavit to

Proceed In Forma Pauperis is attached. See Exhibit 7.

       8.      Plaintiff Sedric Holley, #358967, at all times relevant to this action, was

and is an inmate committed to the custody of the Commissioner of Correction and

assigned to RCI. Plaintiff has insufficient funds to pay the filing fee and other costs

normally required to be prepaid, and insufficient assets to give security therefore as he owns

no real or personal assets, including securities, bank accounts, or property. Furthermore, the

Plaintiff is not employed outside the Division of Correction. A copy of the Petitioner’s

Affidavit to Proceed In Forma Pauperis is attached. See Exhibit 8.

       9.      Plaintiff Wilbert Delano, #346138, at all times relevant to this action, was

and is an inmate committed to the custody of the Commissioner of Correction and

assigned to RCI. Plaintiff has insufficient funds to pay the filing fee and other costs

normally required to be prepaid, and insufficient assets to give security therefore as he owns

no real or personal assets, including securities, bank accounts, or property. Furthermore, the




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Plaintiff is not employed outside the Division of Correction. A copy of the Petitioner’s

Affidavit to Proceed In Forma Pauperis is attached. See Exhibit 9.

       10.     The interests of justice are served by the granting of this motion.

       11.     The Petitioner affirms the statements above as true to the best of his

information, knowledge and belief.


WHEREFORE, Plaintiffs respectfully request this Honorable Court to grant the

following relief:

       1.      That the Court waive prepayment of the filing fee; and

       2.      That the Court grant to the Plaintiffs such other and further relief as the

nature of the Plaintiffs’ cause may require.



                                                       Respectfully submitted,

                                                       _______/s/______________
                                                       Stephen Z. Meehan
                                                       Federal Bar No. 23915

                                                       ______/s/_______________
                                                       Damien Dorsey
                                                       Federal Bar No. 19194

                                                       Prisoner Rights Information System
                                                       of Maryland, Inc.
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                                                       Chestertown, Maryland 21620
                                                       Telephone: 410-528-1400
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                                                       Attorneys for Plaintiffs

Date: September 6, 2016

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